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 6   Attorney for Defendant
     JONATHAN LUCAS
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   ) Case No. 6:15-mj-00001-MJS-1
                                                 )
12                     Plaintiff,                ) MOTION TO VACATE JUNE 6, 2017
                                                 ) REVIEW HEARING; ORDER
13   vs.                                         )
                                                 )
14   JONATHAN LUCAS,                             )
                                                 )
15                    Defendant.                 )
                                                 )
16
17          Defendant Jonathan Lucas hereby requests that the Court vacate the June 7, 2017 interim
18   review hearing. Additionally, the parties request that a final review hearing be set for April 2018.
19   The government is in agreement with the request.
20          On May 5, 2015, the Court sentenced Mr. Lucas to thirty-six months of unsupervised
21   probation, with the conditions that he obey all laws and advise the Court and Government
22   Officer within seven days of being cited or arrested for any alleged violation of law. He was also
23   ordered to pay a $30.00 special assessment, complete 240 hours of community service, and
24   submit to post-plea booking. Additionally, Mr. Lucas was sentenced to 30 days of suspended
25   custody.
26          To date, Mr. Lucas has completed 160.6 hours of community service, proof of which has
27   been provided to the government. Mr. Lucas has also paid his $30 special assessment and has
28   had no new law violations.
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 1           Accordingly, Mr. Lucas is currently in compliance with all conditions of his probation,
 2   and he hereby requests that his June 7, 2017 interim review hearing be vacated, and that a final
 3   review hearing be set in April 2018. Mr. Lucas remains on unsupervised probation until May 5,
 4   2018.
 5
 6                                                Respectfully submitted,
 7                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 8
 9   Date: June 5, 2017                           /s/ Reed Grantham
                                                  REED GRANTHAM
10                                                Assistant Federal Defender
                                                  Attorney for Defendant
11                                                JONATHAN LUCAS
12
13
14                                              ORDER
15           Based on the parties’ joint representation that Mr. Lucas is in compliance with the
16   conditions of his probation, the Court vacates the review hearing scheduled for June 6, 2017, at
17   10:00 a.m., and sets a final review hearing for April 3, 2018, in case number 6:15-mj-00001-
18   MJS.
19
20   IT IS SO ORDERED.
21
22
        Dated:      June 5, 2017                             /s/   Michael J. Seng
                                                       UNITED STATES MAGISTRATE JUDGE
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                                   Lucas – Motion to Vacate Review Hearing
